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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA, THE STATE :
OF CALIFORNIA, THE STATE OF                     :
DELAWARE, THE STATE OF FLORIDA, THE :
                                                :
STATE OF GEORGIA, THE STATE OF
                                                : NO. 2:12-cv-0175-BMS
HAWAII, THE STATE OF ILLINOIS, THE              :
STATE OF INDIANA, THE STATE OF                  :
LOUISIANA, THE STATE OF MICHIGAN,               : CIVIL ACTION - LAW
THE STATE OF MONTANA, THE STATE OF :
NEVADA, THE STATE OF NEW JERSEY, THE :
STATE OF NEW MEXICO, THE STATE OF               :
                                                :
NEW YORK, THE STATE OF OKLAHOMA,
                                                :
THE STATE OF RHODE ISLAND, THE STATE :
OF TENNESSEE, THE STATE OF TEXAS, THE :
STATE OF WISCONSIN, THE                         :
COMMONWEALTH OF MASSACHUSETTS, :
THE COMMONWEALTH OF VIRGINIA, the :
DISTRICT OF COLUMBIA, the CITY OF               :
                                                :
CHICAGO, THE STATE OF CONNECTICUT,
                                                :
THE STATE OF COLORADO, THE STATE OF :
MARYLAND, THE STATE OF IOWA, THE                :
STATE OF WASHINGTON ex rel. CHARLES :
STRUNCK and LISA PRATTA, individually and :
Relator,                                        :
                                                :
                                                :
                      Plaintiffs,               :
                                                :
                v.                              :
                                                :
MALLINCKRODT ARD, INC. (formerly known :
as Questcor Pharmaceuticals, Inc., a California :
                                                :
corporation), AND MALLINCKRODT plc, an
                                                :
Irish public limited company                    :
                                            :
                    Defendants.             :
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                                NOTICE OF APPEARANCE

TO THE CLERK OF COURT:

       Kindly enter my appearance on behalf of Defendants, MALLINCKRODT ARD, INC.

(f/k/a Questcor Pharmaceuticals, Inc., a California corporation), AND MALLINCKRODT plc,

an Irish public limited company in the above-captioned matter.


                                                   POST & SCHELL, P.C.



Dated: June 10, 2019                        By     s/ John N. Joseph
                                                   JOHN N. JOSEPH , ESQUIRE
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                                                   Attorneys for Defendants
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                               CERTIFICATE OF SERVICE

       I, John N. Joseph, Esquire, hereby certify that on this date I caused a true and correct

copy of the foregoing Notice of Appearance to be available for viewing and downloading from

the ECF System and thereby has been served upon the following counsel of record,

electronically:

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Date: June 10, 2019                                 /s/ John N. Joseph
                                                   JOHN N. JOSEPH, ESQUIRE
